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                                                       U.S. Department of Justice


                                                       United States Attorney
                                                       Eastern District of New York
  AAS:JN/DKK/SME                                       271 Cadman Plaza East
  F. #2017R05903                                       Brooklyn, New York 11201


                                                       September 18, 2020


  By ECF

  The Honorable Ann M. Donnelly
  United States District Judge
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11201

                 Re:     United States v. Huawei Technologies Co., Ltd., et al.
                         Criminal Docket No. 18-00457 (S-3) (AMD)

  Dear Judge Donnelly:

         Pursuant to this Court’s September 14, 2020 order, the government’s letter related to
  sharing additional discovery material with defendant Wanzhou Meng is due September 28, 2020,
  which is a holiday. The government respectfully requests that it be permitted to file its letter on
  September 29, 2020. The government has conferred with defense counsel, who do not object
  and who request that the date of the defendants’ filing be moved from September 21, 2020 to
  September 22, 2020.

                                                       Respectfully submitted,

                                                       SETH D. DUCHARME
                                                       Acting United States Attorney

                                               By:            /s/ David K. Kessler
                                                       Alexander A. Solomon
                                                       Julia Nestor
                                                       David K. Kessler
                                                       Sarah Evans
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